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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


                                         §
PHILIPS MEDICAL SYSTEMS                  § Civil No: 1:17-CV-03425
(CLEVELAND), INC.; PHILIPS INDIA LTD.;   §
PHILIPS MEDICAL SYSTEMS
TECHNOLOGIES LTD.; KONINKLIJKE           § Judge Robert M. Dow, Jr.
PHILIPS N.V.; and PHILIPS NORTH          §
AMERICA LLC,                             §
                                         §
                                         §
                          Plaintiffs,    § JURY TRIAL DEMANDED
                                         §
     v.
                                         §
ZETTA MEDICAL TECHNOLOGIES, LLC;         §
and RONALD J. DUNCAN,                    §
                                         §
                          Defendants.    §
                                         §



      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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       In an attempt to justify dismissal, Defendants portray Philips’ case as limited to Zetta’s

unauthorized use of a service login and password to access a Philips CT system purchased by

UMMC with certain access restrictions. As alleged, this case involves much more. After Zetta

uses login credentials known to its employee from his prior experience at Philips and in violation

of confidentiality obligations, Zetta uses trade secret information learned from its ex-Philips

employee to unlawfully gain backdoor access to Philips’ proprietary and copyrighted service

tools. Even using the unauthorized login credentials, Zetta would typically still need to insert a

hardware “key” into a port in the computer to access Philips’ proprietary service tools. But by

misappropriating an ex-Philips employee’s knowledge of the file structure and access controls

used in Philips’ software, Zetta circumvents the access controls to gain illicit access to Philips’

proprietary service tools without a “key.”

       Zetta frames Philips as a bully—as a big company trying to stifle competition. Philips

does not prohibit competition in servicing. To the contrary, Philips has established procedures

that allow non-Philips persons to properly register for access to the systems and to certain service

tools and documents (but not Philips’ proprietary tools and data) to service its systems. Zetta

chose not to register for authorized access. Instead, it chose to misuse confidential login

credentials and trade secret information to bypass Philips’ access controls to gain access to and

use of Philips’ proprietary service tools and data, going far beyond what would have been

allowed had Zetta obtained lawful access to the system. By avoiding development overhead and

instead stealing access to Philips’ proprietary tools, Zetta underbids competition.

       Finally, Zetta hints that Philips is overly litigious because it filed this action after

negotiations broke down. Zetta left off that the negotiations broke down when Zetta

unexpectedly walked away after the parties had devoted nearly four months of efforts to resolve




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the matter. Zetta left Philips with no choice.

        Zetta wants to sidestep the merits of the case. Zetta mischaracterizes the allegations as

conclusory in an effort to escape liability. But the allegations clearly satisfy the notice pleading

requirements of Rule 8(a) and give Zetta more than fair notice of the grounds upon which

Philips’ claims rest. Defendants’ motion should be denied.

I.      LEGAL STANDARD

        A complaint need only contain “a short and plain statement of the claim” showing that

the plaintiff is entitled to relief. Fed. R. Civ. P. 8(a)(2). “‘Detailed factual allegations’ are not

required, but the plaintiff must allege facts that, when ‘accepted as true … state a claim to relief

that is plausible on its face.’” Desmond v. Chicago Boxed Beef Distrib., Inc., 921 F. Supp. 2d

872, 878-79 (N.D. Ill. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

        Rule 8(a)(2) imposes “two easy-to-clear hurdles” that a complaint must satisfy in order to

survive a motion to dismiss. Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th Cir. 2008)

(quoting EEOC v. Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007))) (internal citations and quotation marks

omitted). First, the complaint must “describe the plaintiff’s claims and the grounds supporting

them in ‘sufficient detail to give the defendants fair notice’ of the claims alleged against them.

This requires more than mere ‘labels and conclusions’ or a ‘formulaic recitation of the elements

of a cause of action.’” Desmond, 921 F. Supp. 2d at 879 (quoting Concentra, 496 F.3d at 776).

Second, the complaint must include factual allegations which “plausibly suggest a right to relief,

raising that possibility above a speculative level.” Id.

II.     ARGUMENT

        A.      Philips Has Pled Viable CFAA Claims.

                1.      Philips Alleged Improper Access Under The CFAA.


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         Philips alleges that Defendants violate §§ 1030(a)(2)(C)1 and 1030(a)(4) of the CFAA.2

To state a claim under either of these CFAA sections, a plaintiff must allege, among other things,

improper access. See 18 U.S.C. § 1030(a)(2)(C) (“intentionally accesses a computer without

authorization or exceeds authorized access”), § 1030(a)(4) (“knowingly and with the intent to

defraud accesses a protected computer without authorization, or exceeds authorized access”).

Philips alleges that Defendants intentionally and/or knowingly accessed Philips CSIP on the

Systems in excess of its authorization or in excess of access that the Systems’ owners had the

rights to confer upon defendants. Am. Compl. (Dkt. 10), ¶62. Thus, Philips alleged the

improper access required under these CFAA sections.

         Defendants first argue for dismissal because UMMC authorized them to service its

equipment. Mot. (Dkt. 19), 4-5. Defendants’ argument fails because it ignores the pleadings.

Philips does not allege that Zetta accessed the Systems without authorization in violation of the

CFAA. Rather, Philips alleges that Defendants intentionally accessed information and Philips’

proprietary software on the Systems without authorization, in excess of authorization, or in

excess of access that the Systems’ owners had the rights and ability to confer. Am. Compl.,

¶¶62-63. Whether UMMC authorized Zetta to service the equipment is thus inconsequential.

         Defendants also argue that the CFAA may be relevant if Defendants misappropriated a

unique password, but because they misappropriated a confidential password used by multiple

Philips employees, somehow that undoes Philips’ CFAA claim. Mot., 5. Defendants’ argument

is irrelevant because Philips alleged that Defendants access the information in excess of their

authorization. Am. Compl., ¶62. How they did so is irrelevant to the CFAA claim.

1
  As Defendants recognize, the Amended Complaint included a typo where it referenced § 1030(a)(6)(C). Mot. at 4
(citing Am. Comp. at ¶66). That paragraph should have referenced § 1030(a)(2)(C), which is consistent with the
allegation in that paragraph that Defendants have exceeded their authorized levels of access. Am. Compl., ¶66.
2
  Philips withdraws its claims under 18 U.S.C. §§ 1030(a)(5)(C) and (a)(6)(A), but reserves the right to pursue these
claims in the future if it discovers additional information through the course of discovery or other investigation.


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         Defendants next argue that the violation of private use conditions cannot be the basis for

a claim under the CFAA. Mot., 5-6. This argument also fails to warrant dismissal because

Philips separately alleged that Defendants access the information in excess of their authorization

or in excess of the authorization the Systems’ owners could confer. Am. Compl., ¶62.

         Defendants’ “use conditions” argument fails for the independent reason that Defendants

forfeited any authorization to access the Systems when Defendants breached their duty of loyalty

to UMMC. Philips protects its proprietary service tools by entering into contracts with its

customers that prohibit their unauthorized access, and their granting others unauthorized access,

to Philips’ proprietary service tools. Am. Compl., ¶28. UMMC was contractually obligated to

prevent others from accessing Philips’ proprietary service tools installed on the System. Zetta’s

unlawful use of a backdoor to access Philips’ proprietary service tools was thus adverse to

UMMC’s interests and would have terminated any general authorization UMMC provided.

         For its “use restriction” argument, Defendants cite to cases in other circuits which have

held that the CFAA does not extend to use restrictions. Mot., 5-6. Defendants acknowledge,

however, that the Seventh Circuit has not adopted that approach.3 Mot., 5. Indeed, Courts in the

Seventh Circuit have found CFAA violations in fact patterns similar to those alleged here. See,

e.g., Int’l Airport Centers, L.L.C. v. Citrin, 440 F.3d 418, 420–21 (7th Cir. 2006) (while

employee had authorization to use the laptop in a general sense, his authorization terminated

when he decided to act adverse to his employer); Lane v. Brocq, 2016 WL 1271051, at *9 (N.D.

Ill. Mar. 28, 2016) (accessing LLC’s computer system for reasons that were adverse to LLC’s

interests adequately states a claim for “exceeding authorized use”); TEKsystems, Inc. v. Modis,

3
 Nor have most other circuits. See, e.g., EF Cultural Travel v. Explorica, Inc., 274 F.3d 577 (1st Cir. 2001); United
States v. Teague, 646 F.3d 1119 (8th Cir. 2011); United States v. Rodriguez, 628 F.3d 1258 (11th Cir. 2010); United
States v. John, 597 F.3d 263 (5th Cir. 2010) (holding that an employee had exceeded authorized access where the
policy of the Social Security administration was that personal information could only be obtained for business
purposes, and the defendant accessed information for non-business purposes).


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Inc., 2008 WL 5155720 (N.D. Ill. Dec. 5, 2008) (defendant downloading confidential

information after accepting position with competitor but before notifying prior employer

supports CFAA claim because acceptance of the position terminated agency relationship).

Defendants attempt to distinguish these cases because Zetta has no duty of loyalty to Philips.

Mot., 6. But Defendants plausibly had a duty to UMMC. Defendants acted against UMMC’s

interests when they misappropriated trade secret information to gain illicit access to Philips’

proprietary service tools and information installed on UMMC’s Systems. For this additional

reason, Defendants actions “exceeded authorized use” under the CFAA.

                2.      Philips Alleged Loss Under The CFAA.

        The CFAA provides a private cause of action for a person “who suffers damage or loss

by reason of a [CFAA] violation.” 18 U.S.C. § 1030(g). Philips alleges that it incurred losses in

excess of $5,000 in a one-year period related to investigating and responding to Defendants’

conduct. Am. Compl., ¶68. Philips thus alleges facts plausibly establishing the “loss”

requirement of a CFAA claim. Navistar, Inc. v. New Baltimore Garage, Inc., 2012 WL

4338816, at *8 (N. D. Ill. Sept. 20, 2012) (“at a minimum, Plaintiffs have stated a CFAA claim

by alleging that they incurred costs in investigating an alleged CFAA offense.”)

        Defendants complain that Philips has not pled a loss as required under the CFAA

because, according to Defendants, Philips does not provide enough detail, such as an allegation

that it hired an investigate firm at a cost greater than $5,000. Mot., 6-7. But Rule 8(a) does not

require “detailed factual allegations.” Desmond, 921 F. Supp. 2d at 878-79. Rather, it requires

a plaintiff to allege facts that, when accepted as true, state a plausible claim for relief. Id.

Because Philips’ Amended Complaint satisfies the requirements of Rule 8(a), Defendants’

argument fails.

        Defendants also disagree with Philips’ allegation, positing that “[t]here was nothing for


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Philips to investigate” because Mr. Duncan admitted on a phone call the password and the

method Defendants use to bypass security features. Mot., 7 (citing Am. Compl., ¶53). But

Defendants dispute of the allegations does not mean that they violate Rule 8(a)’s requirements.

       Defendants next gripe that “Philips does not allege any impairment or unavailability of

data or interruption of service that could underlie any such investigation.” Mot., 7. Defendants’

complaint does not warrant dismissal, however, because recent cases in this Circuit have

established that the loss requirement may be satisfied without regard to whether the investigation

pertained to an actual disruption of service or impairment. See, e.g., Epic Sys. Corp. v. Tata

Consultancy Servs. Ltd., 2015 WL 7301245, at *6 (W.D. Wis. Nov. 18, 2015) (denying motion

to dismiss where plaintiff alleged “loss” associated with the costs of an investigation even in the

absence of actual damage to the computer system); Pascal Pour Elle, Ltd. v. Jin, 75 F. Supp. 3d

782, 791 (N.D. Ill. 2014) (allowing a CFAA claim to proceed where plaintiff alleged that it paid

$5,000 in “investigation and security assessment costs associated with the intrusion”

notwithstanding a lack of allegations regarding damage or disruption to the system).

       This Court’s denial of a motion to dismiss in Lane v. Brocq is instructive. In that case,

the plaintiff alleged that it had “suffered losses in excess of $5,000 since May 11, 2015, to date,

to investigate the extent of [Defendants’] breach [and] to re-secure their computer systems.”

2016 WL 1271051 at *11. The Court concluded that this allegation was sufficient to satisfy the

loss requirement at the motion to dismiss stage, finding that “courts in this District have

permitted CFAA claims to proceed when the plaintiff has incurred costs due to an investigation,

without regard to whether the investigation pertained to an actual disruption of service or

impairment to the plaintiff’s data.” Id. Similarly here, Philips has pled that “Defendants have

caused Plaintiffs to incur losses in excess of $5,000.00 in value in a one-year period related to




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the investigation of and cost of responding to the conduct set forth in the preceding paragraphs of

this Complaint.” Am. Compl., ¶ 68. This allegation is sufficient to satisfy the loss requirement

at the pleading stage, thus Defendants’ argument as to this element of the CFAA claim fails.

               3.      Philips Alleged An Intent To Defraud.

       Defendants argue that CFAA § 1030(a)(4) “requires an intent to defraud, but Philips has

not alleged any such intent” without further explanation. Mot., 7. Defendants’ argument again

fails when Philips’ allegations are properly considered.

       A violation of § 1030(a)(4) occurs when a person knowingly and with the intent to

defraud accesses a protected computer without authorization, or exceeds authorized access, and

by means of such conduct furthers the intended fraud and obtains something of value. “[I]ntent

to defraud means that the defendant acted willfully and with specific intent to deceive or cheat,

usually for the purpose of getting financial gain for himself or causing financial loss to another.”

Fidlar Tech. v. LPS Real Estate Data Sol., Inc., 810 F.3d 1075, 1079 (7th Cir. 2016) (quoting

United States v. Pust, 798 F.3d 597, 600 (7th Cir. 2015)). Philips alleges facts that, if proven,

establish that Defendants acted with specific intent to deceive or cheat, and for the purpose of

financial gain by offering services using Philips’ proprietary service tools. See, e.g., Am.

Compl., ¶33 (Zetta offers competing services “by hiring former Philips employees and by

improperly using Philips confidential and proprietary information…and by encouraging those

former Philips employees to utilize the same.”), ¶¶47-49 (Zetta employee used knowledge from

prior employment with Philips to login and bypass access controls to provide services), ¶50

(“This intentional and knowing use of Philips’ confidential and proprietary information”

permitted Defendants “to actively and unlawfully bypass the access-protection” to perform

unauthorized servicing). Thus, Philips states a claim under § 1030(a)(4).

       B.      Philips Has Pled A Viable Copyright Infringement Claim.


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       Defendants’ arguments challenging Philips’ copyright infringement claim fare no better.

To successfully plead a claim for copyright infringement, a plaintiff must establish two elements:

“(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original.” Beasley v. John Wiley & Sons, Inc., 56 F. Supp. 3d 937, 940 (N.D. Ill. 2014). Because

Philips has alleged facts that establish both required elements, Defendants’ arguments fail.

               1.      Philips CSIP Software Is A Copyrighted Work.

       Defendants allege that Philips does not identify what copyrighted work was infringed.

Mot., 8-9. In support, Defendants argue that Philips does not allege access to the source code

that is listed on the Certificates of Registration. Mot., 8. This argument fails because Philips

explicitly alleges that the copyrighted work at issue is “Philips CSIP software for the Brilliance

system” and that this work was registered with the United States Copyright Office. See Am.

Compl., ¶72, Exhibit D. Philips further alleges that Defendants accessed “Philips CSIP

software” at the University of Maryland Medical Center (“UMMC”) and at other sites serviced

by Defendants. See, e.g., Id. ¶¶46-47, 41-53, 55-56. The source code listed on the certificates of

registration is thus the “Philips CSIP software” that Phillips alleges to be infringed. Id., ¶72.

               2.      Philips Alleged An Infringing Act.

       Defendants also argue that Philips’ copyright claim fails because the Complaint does not

allege copying of the CSIP program or that Defendants created a derivative work from it. Mot.,

8. Once one understands that “Philips CSIP software” is the copyrighted work, Defendants’

argument unravels. Philips alleges in its Amended Complaint that Zetta used “Philips CSIP

software.” See, e.g. Am. Compl., ¶¶47, 50, 54, 75. Use of software creates a copy of the

software in the computer’s Random Access Memory. See, e.g., FM Indus., Inc. v. Citicorp

Credit Servs., Inc., 2008 WL 717792, at *5 (N.D. Ill. Mar. 17, 2008) (“[A] user reproduces a

program stored in his computer’s hard drive merely by launching that program, thereby causing


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the computer to copy it to Random Access Memory.”); see also Datacarrier S.A. v. WOCCU

Servs. Grp., Inc., 221 F. Supp. 3d 1078, 1086 (W.D. Wisc. 2016) (citing MAI Sys. Corp. v. Peak

Computer, Inc., 991 F.2d 511, 519 (9th Cir. 1993) (“[I]t is generally accepted that the loading of

software into a computer constitutes the creation of a copy under the Copyright Act.”)); 2-8

Nimmer on Copyright § 8.08 (2007). Thus, Philips has alleged an infringing act.

               3.     The Registration Covers The Copied Versions of Philips CSIP.

       Defendants also argue that Philips has failed to allege that the registered versions of

Philips CSIP identified in Philips’ Amended Complaint were on UMMC equipment, or that

Defendants accessed any of these three versions. Mot., 9. Defendants state that because the

Brilliance 4.1.6 program was not published until July 10, 2016, Philips has not alleged that

Defendants accessed this version because it is purportedly after the infringing act. Id. The facts

as pled in the Amended Complaint demonstrate otherwise.

       Philips explicitly alleges that the copyrighted work that was accessed by Defendants on

UMMC equipment is “Philips CSIP” and that it was this “Philips CSIP” work that was registered

with the United States Copyright Office in three versions. Am. Comp., ¶¶ 46, 72, Exhibit D.

With regard to timing, Philips has alleged that Defendants’ conduct is ongoing and continuing.

Am. Compl., ¶ 52 (“While the conduct set forth above occurred at the [UMMC], Defendants –

upon information and belief – engage in the same improper and unauthorized conduct at sites

they service nationwide.”) (emphasis added); see id., ¶ 60 (“Zetta’s conduct … is not limited in

time to the above-identified May 2015 and/or January 2016 events … Zetta’s conduct … is

instead, representative of widespread and ongoing conduct.”) (emphasis added); see id., ¶ 99

(“Defendants’ conduct, and continuing use of the trade secrets and proprietary and confidential

information of Philips”) (emphasis added). Philips has alleged that this conduct has been

ongoing since at least May of 2015. See id. Further, Philips identified two other copyright


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registrations for the “Philips CSIP” that were published in 2013 that Defendants do not dispute

were published before the time frame of the infringing acts. Philips has thus pled facts

demonstrating copying of the registered versions of its “Philips CSIP” software.4

         C.       Philips Has Pled A Viable DMCA Claim.

         The DMCA provides that “[n]o person shall circumvent a technological measure that

effectively controls access to a work protected under this title.” 17 U.S.C. § 1201(a)(1). To

“circumvent a technological measure” means to “descramble a scrambled work, to decrypt an

encrypted work, or otherwise to avoid, bypass, remove, deactivate, or impair a technological

measure, without authority of the copyright owner.” 17 U.S.C. § 1201(a)(3)(A). Philips alleged

that Mr. Duncan, a Zetta employee, accessed copyrighted works by doing two things. First, he

used an unauthorized password that he learned through his former employment with Philips.

Am. Compl., ¶47. Second, he “bypass[ed] and circumvent[ed] additional access-control

measures by using and exploiting (i) functionalities within the System that would not have been

knowable to Mr. Duncan had he gained access to the System via authorized methods and (ii)

knowledge of trade secrets and other proprietary knowledge that became known to him through

his former employment with Philips.” Id; see also ¶53 (Zetta employee admitted to “utilizing an

unauthorized password” and “subsequently bypassing and circumventing other security features”

“as a routine means of accessing diagnostic tools maintenance logs, and other information and

functionalities”). By circumventing software security measures, Defendants accessed certain

service menus beyond the level of access the unauthorized login credentials would otherwise

provide and beyond authorized levels of access. Id., ¶¶48, 53. Philips therefore alleges facts that

plausibly established circumvention of a technological measure under the DMCA.


4
 Philips withdraws its contributory infringement claim, but reserves the right to pursue such a claim in the future if
Philips discovers additional information through the course of discovery or other investigation.


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       Defendants argue that “the only specific allegedly circumventive activity described in the

complaint is Defendant’s alleged ‘utilizing an unauthorized password.’” Mot., 9 (citing Am.

Compl., ¶¶82, 53). Not so. Philips alleges that after using the unauthorized password,

Defendants subsequently circumvent technological measures to gain access to information and

software tools. Am. Compl., ¶¶47-48, 53, 85. Therefore, Defendants’ reliance on this Court’s

Navistar decision is misplaced. Mot., 9-10 (citing Navistar, 2012 WL 4338816, at *5 (using an

unauthorized password does not constitute “circumvention” under the DMCA”).

       Defendants then reverse course and acknowledge that Philips alleges that Defendants

bypass non-password security measures, but still urge the Court to dismiss the claim because

Philips purportedly “gives no details of those unsupported allegations.” Mot., 10. Rule 8(a),

however, only requires Philips to plead facts that, if accepted as true, state a plausible claim to

relief. Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555. Philips not only alleges that

Defendants circumvent technological measures, but its pleadings identify the May 2015 phone

call in which Mr. Duncan explained the steps Defendants take to subsequently circumvent

Philips’ access controls after logging in with the unauthorized password. Am. Compl., ¶53.

Philips’ allegations therefore provide Defendants with fair notice of the grounds upon which

Philips’ DMCA claims rest and satisfy the requirements of Rule 8(a).

       D.      Philips Has Pled Viable Federal And State Trade Secret Claims.

               1.      Philips Alleged Misappropriation After DTSA Enactment.

       Defendants argue that Philips’ DTSA claim should be dismissed because the DTSA is not

applied retroactively and Philips purportedly has not alleged any misappropriation or use of its

trade secrets after the DTSA’s enactment. Mot., 10-11. Defendants’ argument fails, however,

because Philips alleged ongoing misappropriation. See Am. Compl., ¶52 (“Defendants …

engage in the same improper and unauthorized conduct at sites they service nationwide.”)


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(emphasis added), ¶60 (alleging “widespread and ongoing conduct.”) (emphasis added), ¶ 99

(“Defendants’ conduct, and continuing use of the trade secrets”) (emphasis added). By alleging

ongoing conduct, Philips thus has pled a plausible DTSA claim.

       “Other district courts have analyzed the applicability of the DTSA to misappropriations

that occurred before the DTSA was enacted. These courts have all held that the DTSA applies to

misappropriations that began prior to the DTSA’s enactment if the misappropriation continues to

occur after the enactment date.” Brand Energy & Infrastructure Servs., Inc. v. Irex Contracting

Grp., 2017 WL 1105648, at *4 (E.D. Pa. Mar. 24, 2017) (citing Syntel Sterling Best Shores

Mauritius Ltd. v. Trizetto Grp., Inc., 2016 WL 5338550, at *6 (S.D.N.Y. Sept. 23, 2016) (claim

that began pre-enactment was viable because the complaint alleged that the defendants

“continue[d] to use” the trade secrets) (quoting 18 U.S.C. § 1839(5)(B)); see also Adams Arms,

LLC v. Unified Weapon Sys., Inc., 2016 WL 5391394, at *5–7 (M.D. Fla. Sept. 27, 2016) (same);

Allstate Ins. Co. v. Rote, 2016 WL 4191015, at *1–5 (D. Or. Aug. 7, 2016) (granting relief in

DTSA case where the defendant remained in possession of trade secrets after enactment); Henry

Schein, Inc. v. Cook, 191 F. Supp. 3d 1072, 1076–78 (N.D. Cal. 2016) (same)). Similarly here,

Philips has pled a plausible claim that Defendants ongoing misappropriation violates the DTSA.

               2.      Philips Alleged The Existence Of A Trade Secret.

       Defendants argue that Philips has not met the pleading standard required for trade secret

claims in Illinois because it has not identified specific secrets. Mot., 11-12. Defendants’

argument fails because they again seek more detail than is required at the pleading stage.

       While “[i]t is not enough to point to broad areas of technology and assert that something

there must have been secret and misappropriated,” Composite Marine Propellers, Inc. v. Van

Der Woude, 962 F.2d 1263, 1266 (7th Cir. 1992), trade secrets “need not be disclosed in detail in

a complaint alleging misappropriation for the simple reason that such a requirement would result


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in public disclosure of the purported trade secrets.” AutoMed Techs., Inc. v. Eller, 160 F. Supp.

2d 915, 921 (N.D. Ill. 2001) (internal citation omitted).

       Here, Philips has met the notice pleading requirement by alleging that its CSIP contains

and encompasses trade secrets. Am. Compl., ¶38. Philips goes further and alleges that the

“Philips CSIP software and access control systems, including passwords and user IDs, contain

and are trade secrets because Philips engaged in reasonable measures to maintain their secrecy.”

Id, ¶93. Reasonable measures Philips used to protect its CSIP include password protection,

access control systems, written notices, and contracts with both employees and customers. Id,

¶¶28, 39, 42-44, 47, 53, 93. Reasonable measures Philips used to protect its access control

systems include contracts with employees and third-parties and written notices. Id, ¶¶39, 42-44.

These allegations identify trade secrets and efforts to maintain their confidentiality in more than

just general terms, and are sufficient under federal pleadings standards.

       Notably, the trade secrets Defendants misappropriated here relate to the access controls

for Philips’ software and information an ex-Philips employee provided Zetta to allow it to

circumvent those access controls. Defendants’ demand for detailed factual allegations beyond

the requirements of Rule 8(a) should be rejected because it would risk the public disclosure of

highly sensitive information. See AutoMed, 160 F. Supp. 2d at 921 (trade secrets “need not be

disclosed in detail in a complaint alleging misappropriation for the simple reason that such a

requirement would result in public disclosure of the purported trade secrets.”)

       Whether a plaintiff adequately alleges the existence of a trade secret is a fact intensive

analysis, but Courts have found allegations in more general terms than those here to be sufficient

at the pleading stage. See, e.g., GoHealth, LLC v. Simpson, 2013 WL 6183024, at *12 (N.D. Ill.

Nov. 26, 2013) (identification of trade secret as processes, systems, and technology that allowed




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call center to respond quickly was adequate to state a claim); Papa John's Int’l v. Rezko, 446 F.

Supp. 2d 801, 812 (N.D. Ill. 2006) (claim can proceed although it is “unclear which trade secrets

of the ‘Papa John's System’ were misappropriated”); Labor Ready, Inc. v. Williams Staffing LLC,

149 F. Supp. 2d 398, 412 (N.D. Ill. 2001) (claim sufficient that alleged that former employees

stole information that plaintiff kept secret through restrictive covenants in employment contracts,

among other means). Here, the pleadings more clearly satisfy Rule 8(a)’s notice function.

        Defendants further argue that Philips’ user IDs and passwords are not trade secrets and

that Philips “provides no evidence” that customers had an obligation to keep passwords secret.

Mot., 12. Defendants’ argument cannot warrant dismissal because Philips’ alleged trade secret

misappropriation beyond Defendants’ unauthorized use of user IDs and passwords. Am. Compl.,

¶¶28, 39, 42-44, 47, 53, 93. Further, Philips’s allegations plausibly establish that it took

reasonable steps to maintain the secrecy of the user IDs and passwords and other access controls.

Am. Compl., ¶¶28, 39, 42-44, 93. Rule 8(a) does not require Philips to prove its case in its

complaint. Learning Curve Toys, Inc. v. PlayWood Toys, Inc., 342 F.3d 714, 723 (7th Cir. 2003)

(“The existence of a trade secret is ordinarily a question of fact … best resolved by a fact finder

after full presentation of evidence from each side.”) (citation and internal quotation omitted).

        E.      Philips Has Standing To Assert The Claims In The Complaint.

        Defendants argue for dismissal of Philips’ claims against Mr. Duncan for breach of

contract and against Zetta for tortious interference because the contracting entity, Philips

Electronics North America Corporation, was purportedly not named as a plaintiff in the

Complaint. Mot., 12-13. Philips Electronics North America Corporation was converted to

Philips North America LLC. See Am. Compl., ¶ 115; see also Exhibit A to attached Declaration


5
 Paragraph 11 of the Amended Complaint contains a typo: “Philips North America Corporation” should read
“Philips Electronics North America Corporation.”


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of James Hultquist. Accordingly, Philips North America LLC has standing and Defendants’

arguments for dismissal of the tortious interference and breach of contract claims fail.

        F.      Philips’ Unfair Competition Claim Is Not Preempted.

        Defendants argue for dismissal of Philips’ unfair competition claim “to the extent that”

Philips’ claim is based on the same underlying conduct alleged in its trade secret claim. Mot.,

14. Philips’ unfair competition claim is not preempted for at least the reason that it is based on

Zetta holding itself out as having expertise and capabilities that it does not have. Am. Compl.

¶¶130-131. Indeed, by couching their argument with “to the extent” (Mot., 14), Defendants

tacitly recognize that Philips’ trade secret claims do not preempt its unfair competition claim.

See U.S. Gypsum Co. v. LaFarge N. Am., Inc., 508 F. Supp. 2d 601 (N.D. Ill. 2007) (unfair

competition claim was not preempted to the extent that it was not based on trade secrets); Labor

Ready, Inc., 149 F. Supp. 2d at 398 (unfair competition arguments not preempted to the extent

they do not rely on misappropriation of trade secrets). Because Philips unfair competition claim

includes allegations beyond those supporting Philips’ trade secret claims, Philips’ unfair

competition claim is not preempted.

        Defendants also assert that Philips’ allegation that they “misrepresent their rights” is

“wholly unsupported by facts” and fails to meet federal pleading standards. Mot., 14. Rule 8(a)

only requires that Philips plead facts that, if accepted as true, state a claim to relief that is

plausible on its face. See Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555. The allegations in

Philips’ Amended Complaint meet this standard and, thus, Defendants’ motion should be denied.

III.    CONCLUSION

        For the foregoing reasons, Philips respectfully requests that this Court deny Defendants’

Motion. Alternatively, Philips requests leave to amend its Complaint.




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Dated: August 28, 2017




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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing is being filed on August 28, 2017 using the Court’s

CM/ECF system, which will send a Notice of Electronic Filing via electronic mail to all counsel

of record in this matter.

                                                Respectfully submitted,

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